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1                                     UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA TAMPA
2                                               DIVISION
3                                                  )                  CASE NO. 8:18-cv-02779-TGW
             BEVERLY MULVILLE;                     )
4            RYAN JACK MULVILLE;                   )
             ELIZABETH MULVILLE;                   )
5            ALLISON MULVILLE;                     )                  AMENDED COMPLAINT FOR
             MINOR PLAINTIFF VGM;                  )                  COMPENSATORY, AND
6            MINOR PLAINTIFF ALM;                  )                  PUNITIVE DAMAGES
             MINOR PLAINTIFF HLM;                  )                  PURSUANT TO COURT ORDER
7                                                  )
                        Plaintiffs,                )
8                                                  )
                  vs.                              )
9                                                  )
             LIFELINK FOUNDATION, INC.; LIFELINK )
10           FOUNDATION, INC. doing business as    )
             LIFELINK OF GEORGIA; CRYOLIFE, INC.; )
11           ROBBIE BLACK; and DOES 1-200 ;        )
             inclusive,                            )
12                                                 )
                                                   )
13                      Defendants.                )
             _____________________________________ )
14
15             Plaintiffs, Beverly Mulville; Ryan Jack Mulville; Elizabeth Mulville; Allison Mulville;
16      Minor Plaintiff VGM; Minor Plaintiff ALM; Minor Plaintiff HLM (collectively “Plaintiffs or the
17      Family”) hereby amend their prior complaint pursuant to court orders (Docs 35, 38), and re-file

18      per clerk order of February 25, 2019: 1
                                           GENERAL JURISDICTION
19
               1.      Plaintiff Beverly Mulville (“Beverly”) was the lawfully married wife of Decedent
20
        Duane Mulville (“Duane”). Ryan Jack Mulville (“Jack”), Elizabeth Mulville (“ELIZABETH”),
21
        Allison Mulville (“Allison”), Minor Plaintiff VGM (“Minor VGM”), Minor Plaintiff ALM
22
23      1. This is the correct amended complaint. Larson in Florida at the time filed Doc 39 filed
        prematurely misunderstanding an email from Mr. Zelig and his staff in California who were still
24      cleaning up the version filed and sent the amended draft after Larson who is still undergoing testing
        for her vertigo had fallen asleep. She then filed this version with a notice of errata as Doc. 40. On
25
        February 25, 2019 the clerk struck the filing of Doc. 39 because Larson had filed the first draft as an
26      amended “document.” This re-filing will be identical to Doc. 40 but for the modification of this
        footnote.
27      2. The full names of minor Plaintiffs VGM, ALM, and HLM, are obviously being withheld in the
        interests of the minors.
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        (“Minor ALM”), Minor Plaintiff HLM (“Minor HLM”)2 were the biological children of Duane.
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               2.      Defendants include Lifelink Foundation, Inc., Lifelink Foundation, Inc. doing
2
        business as Lifelink of Georgia, (herein collectively Lifelink), Cryolife, Inc. (Cryolife); Robbie
3
        Black; and Does 1-200; inclusive, collectively referred to as Defendants.
4              3.       Venue is proper and this Court has jurisdiction over all of the named Defendants
5       because:
6              a)      Lifelink’s corporate headquarters are located in Tampa, Florida;
7              b)      Lifelink’s interactions with Plaintiffs described below included interactions in

8                   Georgia and Florida;
               c)      As set forth below, Plaintiffs engaged in numerous interactions with Lifelink’s
9
                    Tampa, Florida office, including with Mr. Hock, who at the time was an officer, director,
10
                    and managing agent of Lifelink, and resides in Florida;
11
               d)      As set forth below, Plaintiffs are informed and believe and based thereon allege that
12                  Cryolife, is an actual or ostensible partner and/or joint venturer of Lifelink;
13             e)      Cryolife is a Florida corporation organized and incorporated in Florida, has
14                  significant contacts with Florida, and has an agent for process in Florida;

15             f)      Plaintiffs believe that Defendants improperly transported organs without
                    authorization from Georgia to Florida;
16
               g)      The Lifelink defendants have stipulated to venue and process in this Court.
17
               4.      Defendants, Does 1 through 200, inclusive, are unknown to Plaintiffs who therefore
18
        sue Does Defendants by such fictitious names and will ask leave of Court to amend this
19      Complaint to show the true names and capacities, whether corporate, individual, partnership,
20      association or otherwise, and said Defendants fault, tortious participation, and/or breach of
21      contract, statute and/or regulation upon discovery.
22             5.      Plaintiffs are informed and believe and based thereon allege that each of the

23      Defendants designated as Does 1 through 200, inclusive, are in some way responsible for the
        injuries and damages sustained by Plaintiffs herein.
24
               6.      At all relevant times, Teresa Armstrong, and Does 21-30 inclusive, (collectively
25
        “Armstrong”) were agents, of Defendant Lifelink. All such acts and omissions are imputed to and
26
        are the legal responsibility of Lifelink.
27             7.      At all relevant times, Danny Hawke, and Does 100-110 inclusive, (collectively
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        “Hawke”) were agents, of Lifelink. All such acts and omissions are imputed to and are the legal
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        responsibility of Lifelink.
2
              8.      At all relevant times, Daniel Schultz, and Does 110-120 inclusive, (collectively
3
        “Schultz”) were agents, of Defendant Lifelink. All such acts and omissions are imputed to and are
4       the legal responsibility of Lifelink.
5             9.      Plaintiffs are informed and believe and based thereon allege, at all times mentioned
6       herein, that certain Defendants were the agents, principals, partners, associates, joint venturers,
7       employees and/or co-conspirators of certain remaining co-defendants; that certain Defendants

8       were at all times acting within the course, purpose and scope of said agency, partnership,
        association, joint venture employment and/or conspiracy and that certain Defendants were acting
9
        with the authorization, permission and/or consent of certain other co-Defendants.
10
                                                FACTUAL STATEMENT
11
                                                Thursday, June 15, 2017
12            10.     On Thursday, June 15, 2017, while at his home in Winder, Georgia, Duane
13      suddenly passed. He was 48 years of age, very fit, a former professional baseball player, who up
14      until his death had worked out regularly, and participated in an active lifestyle with his wife,

15      Beverly. He was the biological father of Jack, Elizabeth, Allison, Minor VGM, Minor ALM, And
        Minor HLM.
16
              11.    Duane and Beverly had been married for 28 years. When Beverly met Duane she
17
        knew right away “this is the man with whom I want to spend the rest of my life.” They never
18
        missed an opportunity to say: “I love you.” Duane had a generous and large personality. At the
19      time of his death, Beverly and Duane had a business together of improving homes. He also ran a
20      baseball school and was a licensed flooring contractor.
21            12.     Duane and Beverly shared equally in raising their 6 children. Duane participated in
22      sport activities with his children, playing tennis and baseball. After retiring from pro-baseball, his

23      career was physically demanding.
              13.    At the time of Duane’s passing: (1) Beverly was with Allison in Mobile, Alabama,
24
        for a tennis competition; (2) Duane was home with their other children in Winder, Georgia; and,
25
        (3) Duane may have had a driver’s license issued by the State of North Carolina, but Plaintiffs are
26
        unable to confirm this since his license cannot be located. (As more fully set forth below,
27      Plaintiffs believe it was taken by the County Coroner for Barrow County, Robby Black.)
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              14.       Duane had fallen asleep. Duane and Beverly’s 8-year-old son heard “something”
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        and noticed his dad was unresponsive. He ran to get his older sisters who attempted CPR.
2
              15.       The children immediately called Beverly who was in Mobile, Alabama, and said:
3
        “Mom, Dad is dead.” Beverly told her girls to call the EMT and wait for them to come to the
4       house. While Beverly was on the phone, she heard the EMTs arrive and their departure.
5             16.       The children followed the ambulance to the hospital.
6             17.       Beverly and Allison, numbed by shock and disbelief, threw their belongings into
7       the family car, checked out of the hotel and rushed back to Winder. The trip home from Alabama

8       took 7 hours.
              18.       During the trip, Beverly tried to talk to a hospital agent, but no one would not talk
9
        to her. Beverly called Duane’s good friend, Alon, a prominent thoracic surgeon, who contacted
10
        the hospital and spoke to its surgeon as the ER team attempted to resuscitate Duane. While she
11
        was still driving, Alon called Beverly and told her they could not revive Duane, and that he was
12      pronounced dead at 2:05 a.m. During his discussions with Beverly, Alon advised Beverly an
13      autopsy should be performed, in order to determine the actual cause of death, and that this would
14      be important for the children.

15            19.       Beverly’s and Duane’s other children remained at the hospital until 3:00 a.m. when
        Lawson’s Funeral Home retrieved Duane’s body, and a friend came to pick the minor children up.
16
              20.       While driving, following the unnerving prior calls, Beverly and Allison received a
17
        call from the County Coroner for Barrow County, Robby Black. Plaintiffs are now informed and
18
        believe Black had a secret and illegal financial arrangement with Lifelink, where it would
19      compensate Black to assist it in harvesting valuable organs.
20            21.       Black asked Beverly whether Duane was taking medications, and whether he
21      smoked or drank alcohol. Beverly and Allison told Black that at the time of his death, Duane was
22      in “great shape” and denied that Duane was taking medications or that he smoked or drank

23      alcohol. Black said because of Duane’s apparent health and age there would be an autopsy.
              22.       Within 30 minutes after Black’s call, Beverly and Allison received another
24
        unnerving and unanticipated call from Armstrong, who identified herself as working for Lifelink
25
        of Georgia.
26
              23.       Armstrong explained that she worked for a tissue donor facility and that Lifelink
27      needed Beverly’s authorization to harvest Duane’s organs. Armstrong’s statements and tone were
28                                              4
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        clear, i.e., time was of essence and Lifelink could not proceed without Beverly’s permission.
1
        Beverly told Armstrong that she would not consent at the time, that it would take some time to
2
        decide, and that she first wanted to discuss the issue with her older children.
3
              24.     From her discussions with Alon, Beverly told Armstrong that it was her
4       understanding that an autopsy and a study of various systems, including Duane’s heart and
5       cardiac system, had to be performed in order to determine if Duane suffered from any conditions
6       that could be passed on, genetically or otherwise, to his children; and that she did not want the
7       heart, connecting tissue and brain harvested because of this.

8             25.     Approximately 2 hours into her trip home, Black again contacted Beverly. Black
        made several statements at the time that unsettled Beverly. He told Beverly that he would not be
9
        performing an autopsy, after all, because the Georgia Bureau of Investigation (GBI) had advised
10
        him that no autopsy was required; and, that if she wanted one done, she would have to pay
11
        $5,000. He attempted to discourage Beverly from doing one and told her it was not necessary.
12      Plaintiffs now believe that Black said these things to aid and abet Lifelink in obtaining valuable
13      organs from Duane.
14            26.     After conferring with Alon, Beverly decided she would pay for a private autopsy.

15            27.     Within a few hours, while Beverly was still en route, Armstrong again contacted
        Beverly, who told Armstrong: (1) that she would be proceeding with a private autopsy, and (2)
16
        that her medical advisor told her not to give authorization for the removal of anything that would
17
        affect the validity of the autopsy, and any study of Duane’s heart and related systems that could
18
        have caused or contributed to his death. Armstrong told Beverly and Allison that they would not
19      harvest the organs the family needed for the autopsy.
20            28.     Armstrong, however, continued to pressure Beverly and Allison for authorization of
21      a donation of bone, skin and eyes. Armstrong stated: “That was what Duane would have wanted.”
22      Beverly repeated that no decision would be made until she arrived home and discussed the issue

23      with her older children.
              29. During the drive from the Coroner’s office, Beverly had conversations with Mr.
24
        Lawson, the director of Lawson Funeral Home, who had retrieved Duane’s body from the
25
        hospital. Beverly discussed the prior phone calls and her desire for an autopsy. Mr. Lawson
26
        recommended an independent forensic pathologist and made the arrangements therefore.
27                                             Friday, June 16, 2017
28                                              5
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              30.     After arriving home, Beverly discussed the issue of the autopsy, and the harvesting
1
        of Duane’s heart and related system with her older children. They agreed that they would only
2
        authorize the harvesting of eyes, tissue and bone. Beverly advised Lifelink and then Mr. Lawson
3
        of the family’s limited donation.
4             31.     On Friday, June 16, 2017, at approximately 7:30 a.m., Beverly arrived at the
5       hospital.
6             32.     Beverly and Mr. Lawson confirmed to Lifelink that it could retrieve Duane’s body
7       for the limited harvesting of eyes, tissue and bone; and, that upon returning the body to his funeral

8       shop, Lawson would send the body to an independent pathologist in South Carolina for the
        autopsy.
9
              33.     Beverly’s brother, Brian, flew in from Ohio, and her son, co-Plaintiff, Jack, flew in
10
        from California. Duane’s brother, Danny, flew in from Montana. Brian, and later Danny, together
11
        with Beverly and Elizabeth, traveled to the funeral home to view Duane’s body and to make
12      formal funeral arrangements before Mr. Lawson sent the body to South Carolina for an autopsy.
13            34.     Beverly and Mr. Lawson discussed the planned autopsy and its purpose, i.e. to
14      study Duane’s heart and the systems tied to the heart to determine whether the children had to

15      worry about genetic or predisposition issues. Mr. Lawson excused himself to ensure the body was
        ready for viewing. Shortly thereafter, he returned, obviously stunned by a discovery. He told the
16
        family “I don’t know how to tell you this, but Lifelink already harvested Duane’s organs,
17
        including his heart”.
18
              35.     Mr. Lawson had been in business a long time. He stated that he had never seen
19      anything like this.
20            36.     A tag was placed on Duane’s foot that stated or indicated:
21            A.      “Lifelink of Georgia”;
22            B.      “The family of Duane Mulville has graciously requested the donation of organs/and

23                    or tissues for transplantation. …The following tissues have been recovered: Heart
                      for valves, skin, bone, saphenous veins”;
24
              C.      In handwritten notes: “For pending autopsy. DeKalb ME.”
25
              D.      There were form questions for the examiner to complete for the purpose to evaluate
26
                      whether the organs were suitable;
27            E.      Blood samples were marked off;
28                                              6
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              F.       There was no mark for the eyes.
1
              37.      Hence, Lifelink took the heart; but it did not take the eyes. This was the exact
2
        opposite of what Duane’s family had authorized.
3
              38.      The family, aghast at the news, sat while Mr. Lawson contacted Lifelink for an
4       explanation.
5             39.      Mr. Lawson, Beverly, and her family by her side, advised that Lifelink knew that
6       the family had not consented to the harvesting of Duane’s heart and wanted it returned
7       immediately. Lifelink’s representative was unapologetic, unsympathetically proclaiming that

8       consent and an autopsy, were not needed.
                                 Saturday and Sunday – June 17th and 18th, 2017
9
              40.      For the next two days, Beverly, with the assistance of another friend, attempted to
10
        contact directors and supervisors for Lifelink, in order to receive an explanation of what had
11
        happened, and to receive a commitment that the heart would be returned.
12            41.      These contacts included phone calls and correspondence between Beverly, her
13      attorney and Lifelink representatives. Beverly waited in anguish for promised return calls, which
14      were not returned. Beverly and her friend sent an email advising that the family had not

15      authorized the harvesting of the organs taken, and demanded the return of the heart, and
        preservation of Duane’s file.
16
              42.      None of the efforts succeeded. Lifelink did not provide: (1) an explanation of what
17
        had occurred; (2) an explanation about whether the harvesting of Duane’s heart had occurred
18
        intentionally or by mistake; (3) the location of the heart, or (4) a commitment for the return of the
19      heart. This exacerbated Plaintiffs’ distress and grief.
20            43.      Plaintiffs believe that Lifelink works with another entity, i.e., co-defendant
21      Cyrolife, that stores the organs and tissues.
22                                                  June 20, 2017

23            44.      On June 20, 2017, Cryolife completed an alleged analysis, triggering the “90-day”
        period within which, as Beverly later learned, it would maintain Duane’s heart before discarding
24
        it. However, Lifelink did not send a notice to Beverly until July 28, 2017. In that
25
        communication, it advised that Duane’s heart was being stored by its partner, Cryolife.
26
              45.      Beverly contacted Cryolife to make arrangements to pick-up the heart. Adding to
27      her grief and anguish, after several attempts to talk to a manager, she was advised by a member of
28                                              7
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        Cyrolife’s “Donation Support Team” that Cryolife did not have the heart, that Cryolife did not
1
        store any body parts, Lifelink or the coroner possessed the heart, and that this should have been
2
        explained to her by Lifelink. These events exacerbated Beverly’s and her children’s grief and
3
        emotional distress at a vulnerable time.
4             46.     Beverly then contacted the coroner to obtain possession of the heart. Black advised
5       Beverly that Duane’s heart valves had been harvested and would not be returned. Beverly was
6       stunned, perplexed and overwhelmed by the news.
7             47.     Beverly, and each of her children, had at least a quasi-property interest in Duane’s

8       remains and his organs, and had the right to insist that his remains not be defiled. Defendants, as
        purportedly experienced organ donor facilitators, should have conducted themselves within
9
        applicable standards, but did not do so.
10
              48.     Subsequently, a long- time friend, father-figure to Duane, and former police officer,
11
        contacted GBI relative to issues surrounding Duane’s death. In response to his inquiry as to why
12      no autopsy had been authorized by the Black, he was advised that GBI was told (presumably by
13      Black) that no autopsy was required because Duane was “morbidly obese,” even though he was in
14      excellent physical shape.

15            49.     Six months later GBI conducted a limited autopsy on Duane’s remains (which did
        not include his heart and related organs and systems). The report noted, inter alia:
16
              A.      That Duane only demonstrated 60% artery blockage, which it described as
17
                      “moderate” atherosclerosis,
18
              B.      That: “(b)ased on the circumstances surrounding the death, the autopsy findings,
19                    and the toxicology results, the death was most likely caused by heart disease. Duane
20                    Mulville was one of the small percentage of people with no significant medical
21                    history who die suddenly and unexpectedly from what appears to be natural disease,
22                    with the subsequent autopsy revealing no clear cause of death. …Autopsy revealed

23                    some heart disease consisting of moderate coronary artery atherosclerosis and
                      microscopic evidence of mild heart enlargement. While these findings were not of
24
                      sufficient severity to normally be expected to have caused the death, these may have
25
                      caused or contributed to the death given the absence of other findings to explain the
26
                      death.”
27            50.     Hence, as set forth above and below, at all relevant times, and as any normal human
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        being could understand, even before Defendants permanently injected themselves into Plaintiffs’
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        lives, Plaintiffs, and Beverly in particular, had their hands full emotionally and economically.
2
        Defendants conduct was malicious, wilful or wanton resulting in substantial and enduring
3
        emotional distress upon the Plaintiffs.
4             51.     As set forth in incorporated paragraphs, with wilful intention to inflict injury on
5       Plaintiffs, and/or with a reckless disregard for the rights of Plaintiffs, Defendant intentionally did
6       not comply with Plaintiffs’ express wishes for the disposal of Duane’s body.
7        Plaintiffs Reserve the Right To Bring Cause Of Action For Violation Of RICO, and Related

8                                                 Causes of Action
              52.     At this time, Plaintiffs elect not to amend the RICO cause of action, and related
9
        causes of action, such as OCGA § 9–11–15(c) (Georgia Unfair Business Practice Act), and do so
10
        without prejudice. However, should the discovery process result in evidence that would permit
11
        an amendment within the parameters of Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1349 (11th
12      Cir. 2016), and case law for OCGA § 9–11–15(c), Plaintiffs will seek leave to amend.
13
14        FIRST CAUSE OF ACTION - NEGLIGENT INTERFERENCE WITH REMAINS AND

15                                      MISHANDLING OF A CORPSE
                                      (By all plaintiffs against all Defendants.)
16
              53.     Plaintiffs incorporate paragraphs 1 - 52, inclusive, as though fully set forth herein.
17
              54.     Under Georgia law there exists a legal duty, enforceable by the next of kin, which
18
        requires that a party contractually obligated to handle a corpse, do so non-negligently, and with
19      utmost dignity.”
20            55.     Plaintiffs under Georgia law each had a personal, quasi-property right in Duane’s
21      body to ensure its proper handling and burial.
22            56.     Defendants actively sought Plaintiffs’ permission to take Duane’s body for the

23      harvesting of certain organs, i.e. eyes, bone and tissue.
              57.     Under Georgia law, there exists a legal duty, enforceable by the next of kin, which
24
        requires that a party contractually obligated to handle a corpse, do so non-negligently and with
25
        utmost dignity.
26
              58.     Defendants understood Plaintiffs wanted Duane’s body, with his heart, brain, valves
27      intact for a proper autopsy in order to determine the actual cause of death and any genetic
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         predisposition to premature death. This knowledge was important to his biological children and
1
         Beverly.
2
               59.     Defendants agreed: (1) that they would not harvest organs the family wanted for the
3
        autopsy because they did not know the cause of death and could not take them without Beverly’s
4       consent; and (2) that Defendants would return the body for the family to carry out their expressed
5       wishes including for a complete autopsy.
6              60.     There are accepted standards of care for tissue donor facilities in the harvesting of
7        organs including but not limited to: (1) that they will not interfere with the conduct of a proper

8        autopsy; and, (2) that they will respectfully interact with the family members of the deceased.
               61.     The Defendants had a reasonable opportunity to comply with Plaintiffs’ expressed
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         wishes in compliance with these standards, but failed to do so in order to further their own
10
         pecuniary interests.
11
               62.     Defendants failed to exercise the appropriate level of care, skill, and diligence for
12       tissue donor facilities, harvesters, and coroners. These failures resulted in their mishandling of
13       Duane’s body and harvesting of his organs, and among other things, nullified the ability of the
14       family to conduct an autopsy to determine the actual cause of Duane’s death, which would have

15       benefitted his biological children and his spouse.
               63.     These failures resulted and will result in pain and suffering, emotional distress and
16
         as to the children, extraordinary medical expenses and other damages.
17
18
                                   SECOND INTENTIONAL INFLICTION OF
19                                           EMOTIONAL DISTRESS
20                                     (By all plaintiffs against all Defendants.)
21             64.     Plaintiffs hereby incorporate paragraphs 1 - 52, inclusive, as though fully set forth
22       herein.

23             65.     The Defendants actively sought Plaintiffs’ permission to take Duane’s body for the
         harvesting of certain organs, i.e. eyes, bone and tissue.
24
               66.      Under Georgia law there exists a legal duty, enforceable by the next of kin, which
25
         requires that a party contractually obligated to handle a corpse, do so non-negligently, and with
26
         utmost dignity.”
27             67.     Defendants understood Plaintiffs wanted Duane’s body for an autopsy in order to
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         determine the actual cause of death and that this was important to his biological children.
1
               68.     Defendants agreed: (1) that they would not harvest organs the family wanted for the
2
         autopsy because they did not know the cause of death and could not take them without Beverly’s
3
         consent; and (2) that Defendants would return the body for the family to carry out their expressed
4        wishes including for an autopsy.
5              69.     Beverly and Mr. Lawson confirmed to Lifelink that it could retrieve Duane’s body
6        for the limited harvesting of eyes, tissue and bone, and, that upon returning the body to his funeral
7        shop, Lawson would send the body to an independent pathologist in South Carolina for the

8        autopsy.
               70.     Beverly’s brother, Brian, flew in from Ohio, and her son, co-Plaintiff, Jack, flew in
9
         from California. Duane’s brother, Danny, flew in from Montana. Brian, and later Danny, together
10
         with Beverly and Elizabeth, traveled to the funeral home to view Duane’s body and to make
11
         formal funeral arrangements before Mr. Lawson sent the body to South Carolina for an autopsy.
12             71.     Beverly and Mr. Lawson discussed the planned autopsy and its purpose, i.e. to
13       study Duane’s heart and the systems tied to the heart to determine whether the children had to
14       worry about genetic or predisposition issues. Mr. Lawson excused himself to ensure the body was

15       ready for viewing. Shortly thereafter, he returned, obviously stunned by a discovery. He told the
         family “I don’t know how to tell you this, but Lifelink already harvested Duane’s organs,
16
         including his heart”.
17
               72.     A tag was placed on Duane’s foot that stated or indicated:
18
               A.      “Lifelink of Georgia”;
19             B.      “The family of Duane Mulville has graciously requested the donation of organs/and
20                     or tissues for transplantation. …The following tissues have been recovered: Heart
21                     for valves, skin, bone, saphenous veins”;
22             C.      In handwritten notes: “For pending autopsy. DeKalb ME.”

23             D.      There were form questions for the examiner to complete for the purpose to evaluate
                       whether the organs were suitable;
24
               E.      Blood samples were marked off;
25
               F.      There was no mark for the eyes.
26
               73.     Hence, Lifelink took the heart; but it did not take the eyes. This was the exact
27       opposite of what Duane’s family had authorized.
28                                             11
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               74. The family, shaken by this numbing news at a most excruciating time of their lives
1
         looked to Mr. Lawson to explain the inexplicable.
2
               75. Lawson has been in business a long time. He said that he had never seen anything like
3
         what had occurred, adding to the family’s horror and outrage.
4               76. Mr. Lawson, Beverly, and her family by her side, immediately contacted Lifelink
5        re-asserting that Lifelink knew prior to receiving Duane’s body, that the family had not consented
6        to the harvesting of Duane’s heart and wanted it returned immediately. Lifelink’s representative
7        was unapologetic, unsympathetically proclaiming that consent and an autopsy, were not needed.

8        This outraged, devastated and confused Beverly and her family who had gone through a painful
         process to give the permission Lifelink had sought and now told was unnecessary.
9
               77.     For the next two days, Beverly, with the assistance of another friend, attempted to
10
         contact directors and supervisors for Lifelink, in order to receive an explanation of what had
11
         happened, and to receive a commitment that the heart would be returned.
12             78.     These contacts included phone calls and correspondence between Beverly, her
13       attorney and Lifelink representatives. Beverly waited in anguish for promised return calls, which
14       were not returned. Beverly and her friend sent an email advising that the family had not

15       authorized the harvesting of the organs taken, and demanded the return of the heart, and
         preservation of Duane’s file.
16
               79.     None of the efforts succeeded. Lifelink did not provide: (1) an explanation of what
17
         had occurred; (2) an explanation about whether the harvesting of Duane’s heart had occurred
18
         intentionally or by mistake; (3) the location of the heart, or (4) a commitment for the return of the
19       heart. This exacerbated Plaintiffs’ distress, grief and trauma.
20             80.     These events and other events described above exacerbated Beverly and her
21       children’s crushing grief and bafflement at a vulnerable time.
22             81.     Beverly then contacted the coroner to obtain possession of the heart. Black advised

23       Beverly that Duane’s heart valves had been harvested and would not be returned, further
         devasting the family.
24
               82.     Subsequently, a long- time friend, father-figure to Duane, and former police officer,
25
         contacted GBI relative to issues surrounding Duane’s death. In response to his inquiry as to why
26
         no autopsy had been authorized by the Black, he was advised that GBI was told (presumably by
27       Black) that no autopsy was required because Duane was “morbidly obese,” even though he was in
28                                             12
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         excellent physical shape and Black had told the family the complete opposite. This news appalled
1
         an already traumatized family.
2
               83.     As set forth in incorporated paragraphs, with wilful intention to inflict injury on
3
         Plaintiffs, and/or with a reckless disregard for the rights of Plaintiffs, Defendant intentionally did
4        not comply with Plaintiffs’ express wishes for the disposal of Duane’s body to their outrage.
5              84.     At all relevant times, and as any normal human being could understand, even before
6        Defendants permanently injected themselves into Plaintiffs’ lives, Plaintiffs, and Beverly in
7        particular, had their hands full emotionally and economically. Defendants conduct was

8        outrageous, malicious, wilful or wanton resulting in substantial and enduring emotional distress
         upon the Plaintiffs and any person in similar situation would see the conduct as such
9
               85.     As a proximate result, Plaintiffs suffered substantial general and non-economic
10
         losses.
11
               86.     Defendants acted with malice, oppression, and fraud, and therefore are liable to
12       Plaintiffs for punitive damages.
13         THIRD CAUSE OF ACTION – INTENTIONAL INTERFERENCE WITH REMAINS
14                                    AND MISHANDLING OF A CORPSE

15             87.     Plaintiffs incorporate paragraphs 1 - 52, inclusive, as though fully set forth herein.
               88.     Plaintiffs under Georgia law each had a personal, quasi-property right in Duane’s
16
         body to ensure its proper handling and burial.
17
               89.     There is an issue as to whether Duane had authorized the harvesting of his organs.
18
               90.     The Defendants actively sought Plaintiffs’ permission to take Duane’s body for the
19       harvesting of certain organs, i.e. eyes, bone and tissue.
20             91.     Under Georgia law there exists a “legal duty, enforceable by the next of kin, which
21       requires that a party contractually obligated to handle a corpse, do so non-negligently, and with
22       utmost dignity.”

23             92.     Defendants understood Plaintiffs wanted Duane’s body for an autopsy in order to
         determine the actual cause of death and that this knowledge was important to his biological
24
         children and their mother.
25
               93.     Defendants agreed: (1) that they would not harvest organs the family wanted for the
26
         autopsy because they did not know the cause of death and could not take them without Beverly’s
27       consent; and (2) that Defendants would return the body for the family to carry out their expressed
28                                             13
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         wishes.
1
               94.     Beverly and Mr. Lawson confirmed to Lifelink that it could retrieve Duane’s body
2
         for the limited harvesting of eyes, tissue and bone; and, that upon returning the body to his funeral
3
         shop, Lawson would send the body to an independent pathologist in South Carolina for the
4        autopsy.
5              95.     Beverly’s brother, Brian, flew in from Ohio, and her son, co-Plaintiff, Jack, flew in
6        from California. Duane’s brother, Danny, flew in from Montana. Brian, and later Danny, together
7        with Beverly and Elizabeth, traveled to the funeral home to view Duane’s body and to make

8        formal funeral arrangements before Mr. Lawson sent the body to South Carolina for an autopsy.
               96.     Beverly and Mr. Lawson discussed the planned autopsy and its purpose, i.e. to
9
         study Duane’s heart and the systems tied to the heart to determine whether the children had to
10
         worry about genetic or predisposition issues. Mr. Lawson excused himself to ensure the body was
11
         ready for viewing. Shortly thereafter, he returned, obviously stunned by a discovery. He told the
12       family “I don’t know how to tell you this, but Lifelink already harvested Duane’s organs,
13       including his heart”.
14             97.     A tag was placed on Duane’s foot that stated or indicated:

15             A.      “Lifelink of Georgia”;
               B.      “The family of Duane Mulville has graciously requested the donation of organs/and
16
                       or tissues for transplantation. …The following tissues have been recovered: Heart
17
                       for valves, skin, bone, saphenous veins”;
18
               C.      In handwritten notes: “For pending autopsy. DeKalb ME.”
19             D.      There were form questions for the examiner to complete for the purpose to evaluate
20                     whether the organs were suitable;
21             E.      Blood samples were marked off;
22             F.      There was no mark for the eyes.

23             98.     Hence, Lifelink took the heart; but it did not take the eyes. This was the exact
         opposite of what Duane’s family had authorized.
24
               99.     The family, shaken by this numbing news at a most excruciating time of their lives
25
         looked to Mr. Lawson to explain the inexplicable.
26
               100. Lawson has been in business a long time. He said that he had never seen anything
27       like what had occurred, adding to the family’s horror and outrage.
28                                             14
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               101.     Mr. Lawson, Beverly, and her family by her side, contacted Lifelink and told
1
         Lifelink that it had known prior to their retrieval of Duane’s body from his business that the
2
         family had not consented to the harvesting of Duane’s heart and wanted it returned immediately.
3
         Lifelink’s representative was unapologetic, unsympathetically proclaiming that consent and an
4        autopsy, were not needed. This outraged, devastated and confused Beverly and her family who
5        had gone through a painful process to give the permission Lifelink had sought and now told was
6        unnecessary.
7              102.     For the next two days, Beverly, with the assistance of another friend, attempted to

8        contact directors and supervisors for Lifelink, in order to receive an explanation of what had
         happened, and to receive a commitment that the heart would be returned.
9
               103.     These contacts included phone calls and correspondence between Beverly, her
10
         attorney and Lifelink representatives. Beverly waited in anguish for promised return calls, which
11
         were not returned. Beverly and her friend sent an email advising that the family had not
12       authorized the harvesting of the organs taken, and demanded the return of the heart, and
13       preservation of Duane’s file.
14             104.     None of the efforts succeeded. Lifelink did not provide: (1) an explanation of what

15       had occurred; (2) an explanation about whether the harvesting of Duane’s heart had occurred
         intentionally or by mistake; (3) the location of the heart, or (4) a commitment for the return of the
16
         heart. This exacerbated Plaintiffs’ distress and grief.
17
               105.     Beverly then contacted the coroner to obtain possession of the heart. Black advised
18
         Beverly that Duane’s heart valves had been harvested and would not be returned.
19             106.     Subsequently, a long- time friend, father-figure to Duane, and former police officer,
20       contacted GBI relative to issues surrounding Duane’s death. In response to his inquiry as to why
21       no autopsy had been authorized by the Black, he was advised that GBI was told (presumably by
22       Black) that no autopsy was required because Duane was “morbidly obese,” even though he was in

23       excellent physical shape.
                 107. The Defendants failed to comply with Plaintiffs’ clear and express wishes and
24
         directives in direct violation of their obligations to the Plaintiffs under Georgia law and in the
25
         process failed to handle Duane’s body with the care and respect they owed.
26
                  108. Defendants’ conduct resulted in their mishandling and defiling of Duane’s body,
27       and the family being deprived of the ability to conduct a proper autopsy to explore Duane’s cause
28                                             15
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         of death for the benefit of his children and spouse. This resulted in, and will result in the
1
         plaintiffs’ sustention of unnecessary pain and suffering, emotional distress and, as to the children,
2
         extraordinary medical monitoring expenses and other damages.
3
                         FOURTH CAUSE OF ACTION – BREACH OF CONTRACT
4                                      (By all Plaintiffs against all Defendants.)
5              109.    Plaintiffs incorporate paragraphs 1 - 52, inclusive, as though fully set forth herein.
6              110.    Plaintiffs under Georgia law each had a personal, quasi-property right in Duane’s
7        body to ensure its proper handling and burial.

8              111.    There is an issue as to whether Duane had authorized the harvesting of his organs.
               112.    The Defendants actively sought Plaintiffs’ permission to take Duane’s body for the
9
         harvesting of certain organs, i.e. eyes, bone and tissue.
10
               113.    Under Georgia law here exists a “legal duty, enforceable by the next of kin, which
11
         requires that a party contractually obligated to handle a corpse, do so non-negligently and with
12       utmost dignity.”
13             114.    Defendants understood Plaintiffs wanted Duane’s body for an autopsy in order to
14       determine the actual cause of death and that this knowledge was important to his biological

15       children.
               115.    Defendants entered into an express agreement with the Plaintiffs to handle Duane’s
16
         body. More specifically, Defendants agreed to various things, including but not limited to: (1) that
17
         they would not harvest organs which needed to be intact for the autopsy; and (2) that Defendants
18
         would return the body for the family to carry out their expressed wishes.
19             116.    Defendants confirmed to Plaintiffs and Mr. Lawson that they would engage in a
20       limited harvest of Duane’s body, i.e., a harvest limited to eyes, tissue and bone; and, would return
21       the body to the Lawson Funeral Home so that the family could make funeral arrangements and
22       have Lawson send the body to an independent pathologist in South Carolina for autopsy.

23             117.    Beverly’s brother, Brian, flew in from Ohio, and her son, co-Plaintiff, Jack, flew in
         from California. Duane’s brother, Danny, flew in from Montana. Brian, and later Danny, together
24
         with Beverly and Elizabeth, traveled to the funeral home to view Duane’s body and to make
25
         formal funeral arrangements before Mr. Lawson sent the body to South Carolina for an autopsy.
26
               118.    Beverly and Mr. Lawson discussed the planned autopsy and its purpose, i.e. to
27       study Duane’s heart and the systems tied to the heart to determine whether the children had to
28                                             16
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         worry about genetic or predisposition issues. Mr. Lawson excused himself to ensure the body was
1
         ready for viewing. Shortly thereafter, he returned, obviously stunned by a discovery. He told the
2
         family “I don’t know how to tell you this, but Lifelink already harvested Duane’s organs,
3
         including his heart”.
4               119.    A tag was placed on Duane’s foot that stated or indicated:
5               A.      “Lifelink of Georgia”;
6               B.      “The family of Duane Mulville has graciously requested the donation of organs/and
7                      or tissues for transplantation. …The following tissues have been recovered: Heart

8                      for valves, skin, bone, saphenous veins”;
                C.      In handwritten notes: “For pending autopsy. DeKalb ME.”
9
                D.      There were form questions for the examiner to complete for the purpose to evaluate
10
                       whether the organs were suitable;
11
                E.      Blood samples were marked off;
12              F.      There was no mark for the eyes.
13              120.    Hence, Lifelink took the heart; but it did not take the eyes. This was the exact
14       opposite of what Duane’s family had authorized.

15              121.    Lawson has been in business a long time. He said that he had never seen anything
         like that.
16
               122.    The Defendants failed to comply with their agreement with Plaintiffs.
17
                123.   This breach resulted and will result in continuing economic and non- economic
18
         damages including extraordinary medical expenses and pain and suffering.
19
        WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
20
        1.      For compensatory, general, consequential, and incidental damages, in an amount of
21
                $5,000,000 per Plaintiff, or other amount in the reasonable discretion of the trier of fact;
22
        2.      For pre-judgment and/or post-judgment interest at the legal rate;
23
        3.      For exemplary/punitive damages
24
        4.      For restitution;
25
        11.     For return of DUANE’s heart;
26
        12.     For attorney fees;
27
28                                             17
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1       13.   For costs of suit;
2       14.   For such other further relief that the Court may deem just and proper.
3
                                                           s/Larson
4
                                                           _____________________
5
                                                           Karen Larson, Local Counsel
6                                                          Florida Bar No. 0765686
                                                           Primary E-mail: Karen.a.larson@gmail.com
7                                                          Century Law Group
                                                           751 Orchid Court
8
                                                           Marco Island Florida 34145
9                                                          Tel.: 239-259-0738

10
                                                           s/Zelig
11
12                                                         Steven Zelig (State Bar No. 94654)
                                                           WLA LEGAL SERVICES, Inc.
13                                                         1543 7th St 3rd Floor
                                                           Santa Monica, CA 90401
14                                                         Telephone: (310) 393-6702 Facsimile: (310)
15                                                         393-6703
                                                           slz@brentwoodls.com
16
17
                                        DEMAND FOR JURY TRIAL
18
19                                    Plaintiffs hereby demand trial by jury.
20                                                         s/Larson
21                                                         _____________________
22                                                         Karen Larson, Local Counsel
                                                           Florida Bar No. 0765686
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                                                           751 Orchid Court
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26
27
28                                             18
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     Case 8:18-cv-02779-TGW Document 41 Filed 02/25/19 Page 19 of 19 PageID 272




1
2
3                                                              s/Zelig
4                                                              Steven Zelig (State Bar No. 94654)
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7                                                              393-6703
8                                                              slz@brentwoodls.com

9
10
                                            CERTIFICATE OF SERVICE
11
12                I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically

13      filed by CM/ECF electronic filing which will send a notice of electronic filing and copy to the
        parties    counsel   of   record:       Richard   M.   Hanchett,     Esquire,   rhanchett@trenam.com;
14
        achrisman@trenam.com,          Brigid      A.     Merenda,         Esquire,     bmerenda@trenam.com;
15
        ranctil@trenam.com; and Anne C. Leonard, Esquire, aleonard@trenam.com; jamer@trenam.com of
16
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17      Boulevard, Suite 2700, Post Office Box 1102, Tampa, Florida 33601.
18
19                                                             s/Larson
20                                                             _____________________

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28                                             19
        ________________________________________________________________________________
        Complaint
